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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: March 28, 2016



________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

   In re:                                      :     Case No. 13-54832

            Shirley Louise Locke               :     Chapter 13

                         Debtors.              :     Judge Charles M. Caldwell

             ORDER APPROVING DEBTORS’ MOTION TO APPROVE LOAN
                              MODIFICATION
                             (REL. DOC. NO. 76)

             This matter is before the Court upon Debtors’ Motion to Approve Loan

   Modification, filed February 4, 2016 (Docket # 76). The Court finds that more than

   twenty-one (21) days have elapsed from the date of service of the motion, that no

   objection or response has been filed, and that good cause exists for granting Debtors’

   motion.

            Therefore, it is hereby ORDERED that the following modified mortgage terms

   are APPROVED:
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          1. New Payment & Interest Rate: $1,789.05 at a fixed 4.75% interest rate;
          2. Principal Balance of mortgage after loan modification: $223,460.04.
   IT IS SO ORDERED.

   Copies to:
   Default List Plus Additional Parties:

   Wells Fargo Bank, NA
   Attn: Bankruptcy Department
   3476 Stateview Department
   MAC DD347-014
   Fort Mill, SC 29715-7203

   Wells Fargo Bank, NA
   8480 Statecoach Circle
   Frederick, MD 21701

   Wells Fargo Bank, N.A.
   Payment Processing
   MAC#X2302-04C, One Home Campus
   Des Moines, IA 50328

   Wells Fargo Home Mortgage
   PO Box 14547
   Des Moines, IA 50306-4547

   Wells Fargo Home Mortgage
   Suite L-2-200
   1200 West 7th Street
   Los Angeles, CA 90017
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